 Case: 1:14-cr-00546 Document #: 108 Filed: 01/08/18 Page 1 of 1 PageID #:409

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:14−cr−00546
                                                         Honorable Charles P. Kocoras
Nikesh A Patel
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, January 8, 2018:


       MINUTE entry before the Honorable Charles P. Kocoras as to Nikesh A Patel:
Order entered on 1/8/2018 [107], is amended as follows: Sentencing set for 1/9/2018 at
10:15 a.m. is stricken. Status hearing set for 1/9/2018 at 11:00 a.m. Mailed notice (vcf, )




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